Case 1:11-cv-02514-MSK-CBS Document 70 Filed 01/14/13 USDC Colorado Page 1 of 1




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                      Honorable Marcia S. Krieger

  Civil Action No. 11-cv-02514-MSK-CBS

  MERLE A. FREY,

                 Plaintiff,

  v.

  DAVID W. TURNER; and
  K&B TRANSPORTATION, INC.,

                 Defendants.


                          ORDER OF DISMISSAL WITH PREJUDICE


         THIS MATTER comes before the Court on the Joint/Unopposed Motion for Order of

  Dismissal Pursuant to FRCP 41 (Motion) (#69) filed January 10, 2013. Having reviewed the

  Motion,

         IT IS ORDERED that the Motion is GRANTED and all claims asserted between the

  parties are hereby dismissed, with prejudice, each party to pay his, her or its own attorney fees

  and costs.

         DATED this 14th day of January, 2013.


                                                       BY THE COURT:




                                                       Marcia S. Krieger
                                                       Chief United States District Judge
